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Attorneys for Plaintiffs

                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF IDAHO

THE ASSOCIATED PRESS; THE                               Case No. 1:24-cv-00587-DKG
MCCLATCHY COMPANY, LLC, dba The
Idaho Statesman; and EAST-IDAHO-                        DECLARATION OF REBECCA
NEWS.COM, LLC, dba East Idaho News,                     BOONE IN SUPPORT OF PLAINTIFFS’
                                                        MOTION FOR PRELIMINARY
                       Plaintiffs,                      INJUNCTION

         v.

JOSH TEWALT, in his official capacity as the
Director of the Idaho Department of
Correction,

                       Defendant.


         I, Rebecca Boone, declare and state as follows:

         1.        I am the supervisory correspondent for Idaho for The Associated Press (“AP”). As

such I have personal knowledge of the facts and statements contained in this declaration.

         2.        I have 26 years of journalism industry experience, much of that time spent

covering the judicial branch, the U.S. prison system, the Idaho Department of Correction

(“IDOC”) and criminal justice issues including the death penalty.




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         3.        I graduated from the University of Idaho with a bachelor’s degree in journalism in

1999, and I covered the courts and law enforcement beat for The Lewiston Tribune before I

joined the AP in 2002 as a reporter in the Boise bureau.

         4.        In 2013 I was promoted to my current position of supervisory correspondent,

tasked with leading AP’s news coverage in Idaho. I have extensive experience covering the death

penalty and issues surrounding the use of the death penalty in the United States.

         5.        I also cover the Idaho Legislature, including efforts by lawmakers and individuals

to shape Idaho laws and policies surrounding the use of the death penalty.

         6.        I was an Idaho Press Club board member from 2014 until 2023, when I stepped

down due to time constraints. I am a longtime advisory board member of the University of

Idaho’s School of Journalism and Mass Media. I became a Loyola Law School Journalism Law

School Fellow in 2012. I also regularly serve as a panelist for training programs offered to

teachers and journalists through a partnership between the University of Idaho College of Law,

the Idaho Supreme Court, the U.S. District Court of Idaho and the Idaho Press Club. During

those panels I typically train attendees on subjects including news literacy, how to access court

documents, the ethics of covering the courts, how to incorporate the rule of law into press

coverage and why press coverage of the courts, prisons, executions and other criminal justice

issues is vital for an informed citizenry.

         7.        I have served as the AP designated media witness for two completed executions

and one attempted execution in Idaho; witnessing the lethal injection execution of Paul Ezra

Rhoades on Nov. 18, 2011; the lethal injection execution of Richard Albert Leavitt on June 12,

2012; and the attempted lethal injection execution of Thomas Eugene Creech on Feb. 28, 2024.

See Killer Paul Ezra Rhoades put to death in Idaho – state’s first execution in 17 years, The


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Oregonian (Nov. 18, 2011), https://www.oregonlive.com/pacific-northwest-

news/2011/11/killer_paul_ezra_rhoades_put_t.html; Idaho executes Richard Leavitt for woman’s

Killing in 1984 (Jun. 12, 2012), https://www.oregonlive.com/pacific-northwest-

news/2012/06/idaho_executes_richard_leavitt.html; Idaho halts execution by lethal injection

after 8 failed attempts to insert IV line (Feb. 28, 2024),

https://apnews.com/article/idahoexecution-creech-murders-serial-killer-

91a12d78e9301adde77e6076dbd01dbb?utm_source=copy&utm_medium=share.

         8.        I was also the AP’s designated media witness for the planned execution of Mr.

Creech on Nov. 13, 2024, and completed the “Witness Acknowledgement and Agreement Form”

as required by the IDOC for that event. The execution has since been stayed, but I expect to be

the AP’s designated witness if it is rescheduled.

         9.        In order to be allowed to witness the executions of Mr. Rhoades and Mr. Leavitt,

and the attempted execution of Mr. Creech, I underwent a criminal background check and

approval process as required by the IDOC, including signing IDOC-generated forms outlining

my duties as a media witness.

         10.       The IDOC “witness acknowledgement and agreement” form includes several

terms outlining the rules of conduct for media witnesses. By signing that form, I agreed to

maintain appropriate behavior and demeanor throughout the execution; to obey directives issued

by IDOC staff while on IDOC premises; to be searched before entering the Idaho Maximum

Security Institution; to refrain from bringing any disallowed personal property including

recording devices, cameras, pens, pencils, phones or contraband into IDOC facilities; to refrain

from making any video, audio or digital recordings of any event inside the execution chamber;




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and to participate in a news conference immediately after the execution to report my experience

and observations to the public.

         11.       I followed all IDOC rules and abided by the terms of the “witness

acknowledgement and agreement” for the attempted execution of Mr. Creech in February, and

intended to do the same during the planned execution of Mr. Creech on Nov. 13, 2024.

         12.       IDOC had similar forms and requirements for media witnesses during the

executions of Mr. Rhoades and Mr. Leavitt, and during both events I followed IDOC’s terms and

fulfilled all media witness requirements.

         13.       During each of those events, IDOC’s execution team members obscured their

identities using personal protective equipment and medical gear at all times including surgical

masks, hair coverings, and balaclava-style face coverings. These methods are effective at

keeping their identities secret – I have never determined the identity of an execution team

member.

         14.       To my knowledge and understanding, the IDOC execution facility at the Idaho

Maximum Security Institution includes several adjoining rooms and staging areas that are all

used during the process of executing a condemned person.

         15.       Those rooms have been referred to using various names over the last two decades,

but for the purposes of this declaration I will refer to them using the following names:

         16.       The “Execution Chamber” includes a table or gurney where the condemned

person is placed for the execution, as well as a telephone that the warden may use to check the

status of any last-minute stays or clemency.

         17.       The “State of Idaho Witness Area” is an adjoining room where media witnesses,

members of the victims’ families, prosecuting attorneys, law enforcement officials, government


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officials and prison officials are typically seated. This room includes a large, clear window

through which the witnesses may view the events occurring inside the Execution Chamber.

         18.       The “Condemned’s Witness Area” is next to the State of Idaho Witness Area, and

also adjoins the Execution Chamber. The Condemned’s Witness Area also includes a large, clear

window through which occupants may view the events occurring inside the Execution Chamber.

People typically seated inside the Condemned’s Witness Area include two approved visitors

selected by the condemned person, an IDOC liaison, the condemned person’s attorney and

sometimes a spiritual advisor.

         19.       There is a door on the left side of the Execution Chamber (as seen from the State

of Idaho Witness Area). This is the door through which the condemned person enters the

Execution Chamber, accompanied by the IDOC execution escort team.

         20.       There is a door on the right side of the Execution Chamber (as seen from the State

of Idaho Witness Area). This is the door through which the coroner typically enters to confirm

death of the condemned person after a completed execution.

         21.       There is a small portal or opening in the wall of the Execution Chamber, and the

IV lines that are attached to the condemned person pass through this opening into another area of

the execution facility.

         22.       There is a room somewhere within the execution facility that is now called the

“Medical Team Room” (and previously has been called the “chemical preparation room” or the

“medication room”). I have never seen the Medical Team Room, but based on my interviews

with IDOC officials and IDOC policy documents, I believe it is where the lethal injection

chemicals are administered into the IV lines attached to the condemned person.




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         23.       There is a newly completed or renovated room somewhere inside the execution

facility that was built this year. It is called the “Execution Preparation Room.”

         24.       I have never seen the Execution Preparation Room, but based on information

provided to me by IDOC through interviews, press releases and policy documents, the room is

equipped with closed-circuit cameras. Those cameras will relay real-time audio and video

footage of the events occurring in the Execution Preparation Room to monitors placed inside

both witness areas.

         25.       Prior to the execution of Mr. Rhoades, the AP and other news organizations in the

state asked IDOC to change its policy barring media witnesses from viewing the insertion of

peripheral IV lines into the condemned person. The AP and other news organizations cited a

2002 California lawsuit in which the Ninth U.S. Circuit Court of Appeals found that the public –

through media representatives – had a First Amendment right to view an execution in its entirety.

The IDOC denied those requests.

         26.       During the execution of Mr. Rhoades, media witnesses were not allowed to see

the insertion of the peripheral IV lines. That work was done in the Execution Chamber, but a

curtain was drawn over the window, blocking the view of myself and others seated in the State of

Idaho Witness Area.

         27.       After Mr. Rhoades’ execution, I persuaded my supervisors at the AP to sue the

state for viewing access to that portion of the execution, and I helped create a coalition of other

news organizations in the state to join the lawsuit. That lawsuit, Associated Press v. Otter and

Idaho Department of Correction, was filed in U.S. District Court of Idaho on May 22, 2012.

         28.       U.S. District Judge Edward Lodge found the plaintiffs had a strong case on the

merits and that the public has an interest in viewing executions in entirety, but also found that the


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case was not timely filed and that the public had a greater interest in seeing the execution carried

out as scheduled.

         29.       The AP and other news organizations filed an interlocutory appeal to the Ninth

U.S. Circuit Court of Appeals, which reversed the lower court on June 8, 2012. A three-judge

appellate panel found the public has a First Amendment right to view executions, including those

moments that are “inextricably intertwined with the process of putting the condemned inmate to

death.” The appellate court’s ruling cited the circuit’s previous findings in California’s First

Amendment Coalition v. Woodford (2002).

         30.       On June 12, 2012 – just four days after the Ninth Circuit’s ruling – I and other

media witnesses were allowed to view the insertion of the peripheral IVs into Mr. Leavitt’s arms

during the start of his execution.

         31.       We were not allowed to see anything that occurred inside the Medical Team

Room, a fact I publicly noted during my portion of the media witness press conference

immediately following Mr. Leavitt’s execution.

         32.       During the attempted execution of Mr. Creech, I and other media witnesses were

able to watch as execution team members tried eight times to place a viable peripheral IV line in

Mr. Creech’s arms and legs. That execution was called off after the execution team and prison

administrators determined they could not successfully set an IV line.

         33.       Based on information provided to me by IDOC through interviews, press releases

and documents, I believe that execution team members will now attempt to place peripheral IV

lines in the Execution Preparation Room, and if those efforts are not successful they will instead

place a central venous catheter using the larger, deeper veins in the condemned person’s neck,

groin, chest or upper arm.


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         34.       Based on information provided to me by IDOC through interviews, press releases

and documents, I believe that media witnesses will be able to view those attempts via closed-

circuit cameras installed by IDOC inside the Execution Preparation Room.

         35.       I have repeatedly notified IDOC officials that the AP would like visual and audio

access, even by closed-circuit camera, to any events occurring in the Medical Team Room

because they are critical to the execution process.

         36.       Those notifications included orally asking three different directors for media

witness access to the Medical Team Room over the last several years. I asked IDOC Director

Brent Reinke, his successor IDOC Director Kevin Kempf, and his successor, current IDOC

Director Josh Tewalt for such access during interviews as well as during informal conversations.

         37.       I also asked the AP to make a more formal written request for media witness

audio and visual access to the events occurring in the Medical Team Room.

         38.       When I learned in 2021 that IDOC was preparing to execute death row inmate

Gerald Pizzuto, I asked AP’s legal counsel to push for media witness access to the Medical Team

Room as well as to the Condemned’s Witness Area.

         39.       On Nov. 1, 2021, attorney Charles Brown (now retired) wrote a letter to IDOC

Director Josh Tewalt on behalf of the AP seeking media witness access to both areas. The letter

noted the AP’s previous successful lawsuit seeking fuller media access to executions in Idaho.

         40.       When IDOC did not respond to that letter, the AP sent a follow-up letter asking

for a response prior to Mr. Pizzuto’s execution date. Deputy Attorney General Kristina Schindele

responded on behalf of IDOC on Feb. 4, 2022.

         41.       In that response, Ms. Schindele said IDOC’s execution unit was not configured in

a way to permit the media to be present in the Condemned’s Witness Area. Ms. Schindele also


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said IDOC has significant interest in preserving the anonymity of execution team members, and

also needed to eliminate the physical risk of interference with the administration of chemicals.

She also said IDOC does not have closed-circuit television cameras in place in the “chemical

room,” which is another name for the Medical Team Room.

         42.       In March 2022, Mr. Brown replied on behalf of the AP. That letter reiterated AP’s

interest in access to both the Condemned’s Witness Area and the Medical Team Room, but

recognized physical limitations created by the facility layout. In the interest of maintaining a

dialogue and avoiding litigation, the AP agreed to put aside the question of access to the

Condemned’s Witness Area for the time being, in order to focus on access to the Medical Team

Room.

         43.       In that March 2022 letter, Mr. Brown and the AP suggested that a viewing

window could be installed in the medication room, or that closed-circuit cameras could be

installed and utilized to provide visual and audio access for the media witnesses.

         44.       To my knowledge, neither IDOC nor Ms. Schindele ever replied to that letter.

         45.       Mr. Pizzuto’s execution was ultimately put on hold, and my AP colleague in

Boise retired, leaving me as the sole AP journalist in Idaho. With no executions imminently

scheduled, I focused on other major breaking news stories for the next several months. Because

of personal and professional time constraints, I was unable to revisit the matter with IDOC

before the attempted execution of Mr. Creech in February 2024.

         46.       When IDOC announced that it had constructed the Execution Preparation Room

and installed closed-circuit cameras for media witness viewing inside the execution facility, I

again asked IDOC Director Josh Tewalt if media witnesses would be able to view the events

occurring inside the Medical Team Room by closed-circuit camera. Director Tewalt told me that


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IDOC did not add closed-circuit cameras to that portion of the facility and said the agency would

not take that step in the future.

         47.       To my knowledge, the IDOC is planning on maintaining its practice of restricting

witnesses’ access to the Medical Team Room during any future execution.

         48.       Based on IDOC’s written policy, “Execution Chemicals Preparation and

Administration”; my own interviews with IDOC officials; interviews with physicians familiar

with the lethal injection process and interviews with experts in lethal injection and the death

penalty, I believe that members of the IDOC execution team carry out several tasks inside the

Medical Team Room, and that the execution of those tasks is integral to the process of executing

a condemned person.

         49.       In fact, based on IDOC policy documents the execution would not occur without

the events occurring inside the Medical Team Room.

         50.       According to IDOC policy documents those tasks include preparing and labeling

syringes that will be used to contain the lethal injection drug or drugs; drawing the lethal

injection drug or drugs into the prepared syringes; tracking the syringes to ensure they are not

damaged or mixed up; monitoring the condemned person through a closed-circuit camera, video

feeds or other viewing system; and monitoring the condemned person’s vital signs through an

EKG monitor or other medical equipment.

         51.       According to IDOC policy documents medical team members inside the Medical

Team Room also must administer the prepared lethal injection drug or drugs from the syringes

into the IV lines attached to the condemned person, potentially flushing the lines with saline or

another substance between drug administrations.




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         52.       Under IDOC policy, the medical team is also tasked with monitoring the electrical

activity of the condemned person’s heart as shown on an EKG monitor, and for advising the

coroner that the execution has been completed after the monitor shows that all electrical activity

of the heart has ceased.

         53.       By being able to view the events inside the Medical Team Room, I would be able

to inform the public on several matters that are critical to the execution process, including the

speed, manner and care with which the lethal injection chemicals are handled during the

execution, tracked and administered.

         54.       In other states, these details have at times been key to public understanding of the

death penalty and the way it is being enacted.

         55.       For instance, on May 24, 1989, a condemned man named Stephen McCoy in

Texas had such a violent reaction to lethal injection drugs that one of the witnesses fainted.

Texas Attorney General Jim Mattox later said, “The drugs might have been administered in a

heavier dose or more rapidly,” the Houston Chronicle reported in an article published three days

after the execution.

         56.       In 2014, Arizona inmate Joseph R. Wood III was injected with 15 times the

recommended dosage of lethal medication before he died during a nearly two-hour-long

execution process, during which he repeatedly gasped for air. See Astrid Galvan, AP reporter’s

account of Arizona execution, The Associated Press (July 24, 2014), https://apnews.com/general-

news-99d4d4ce9e734bb4a32859ee66032c84?utm_source=copy&utm_medium=share.

         57.       Lethal injection drugs are increasingly difficult for states to obtain, and they

typically cost a large amount of taxpayer money.




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         58.       The housing of death row inmates and the administration of the death penalty are

also very expensive processes that rely on taxpayer funds.

         59.       There is much public discussion and debate about whether death by lethal

injection is humane, ethical, moral or just.

         60.       As a journalist, my role is to act as the eyes and ears of the public, informing them

about the state’s administration of executions. That includes doing my professional best to

observe whether lethal injection is carried out in accordance with IDOC policy, as well as

observing the actual impact of that policy on the public. This is part of the “watchdog” function

of journalism.

         61.       One of the first things that journalists are taught is to seek proof for themselves –

a rule often summed up by the maxim: “If your mother says she loves you, check it out.” IDOC’s

policy restricting the Medical Team Room from media witnesses restricts journalists from

performing the watchdog function of a free press.

         62.       When Idaho inmates are executed, they are put to death by the state of Idaho –

which is acting on behalf of Idaho residents, in the name of justice.

         63.       Idaho citizens and the general public have a vested interest in being able to decide

for themselves the many financial, ethical and moral aspects of the death penalty.

         64.       It is my belief that the public deserves the fullest possible transparency on such a

weighty public policy issue.




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         I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.


DATED: December 6, 2024
                                                    /s/ Rebecca Boone
                                                    REBECCA BOONE




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